      Case 19-20464-VFP          Doc 71     Filed 10/25/23 Entered 10/25/23 10:45:30                  Desc Main
                                            Document Page 1 of 1
 Marie-Ann Greenberg MAG-1284
 Marie-Ann Greenberg, Standing Trustee
 30 TWO BRIDGES ROAD
 SUITE 330
 FAIRFIELD, NJ 07004-1550
 973-227-2840
 Chapter 13 Standing Trustee

                                                            UNITED STATES BANKRUPTCY COURT
 IN RE:                                                     DISTRICT OF NEW JERSEY
   JOSEPH W. HANLEY,                                        Case No.: 19-20464 VFP

                                      Debtor
                                 NOTICE OF RESERVE ON CLAIM
Creditor:           MILLENNIUM TRUST COMPANY, LLC
Trustee Claim #:    4
Court Claim #:       3
Claimed Amount:      $29,810.91
Date Claim Filed:    10/08/2019

Please be advised that a reserve has been placed on the above named claim for the following reason:

       Disbursement checks have been returned as undeliverable. A change of address must be filed with the Court.
       A change of address must be filed with the Court by the creditor or creditor’s attorney ONLY. The Trustee’s
       records will not be updated by the filing of any other party.


Unless we receive the information needed and the necessary documents are filed with the Court, we will continue to
reserve the funds and the funds will be sent to the United States Bankruptcy Court upon the closing of the case .



                                                          By: /S/ Marie-Ann Greenberg
Dated: October 25, 2023                                       Chapter 13 Standing Trustee


JOSEPH W. HANLEY
594 VAN EMBURGH AVENUE
WASHINGTON TOWNSHIP, NJ                07676

PELLEGRINO & FELDSTEIN, LLC
290 ROUTE 46 WEST
DENVILLE, NJ 07834

MILLENNIUM TRUST COMPANY, LLC
TLOA OF NJ, LLC C/O TLOA SERVICING, LLC
PO BOX 54077
NEW ORLEANS, LA 70154

VIRGINIA E FORTUNATO LLC
ONE KINDERKAMACK ROAD
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